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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



    STATE OF FLORIDA,

          Plaintiff,

    v.                                                CASE NO. 8:21-cv-839-T-23AAS

    XAVIER BECERRA, et al.,

          Defendants.
    __________________________________/


                                            ORDER

          A June 18, 2021 order preliminarily enjoins CDC “from enforcing against a

    cruise ship arriving in, within, or departing from a port in Florida the conditional

    sailing order and the later measures (technical guidelines, manuals, and the like),”

    but the order temporarily stayed the injunction until July 18, 2021. (Doc. 91 at 123)

    After a July 7, 2021 order denied CDC’s motion (Doc. 96) for a stay pending appeal

    from the preliminary injunction, CDC appealed to the Eleventh Circuit and moved

    in the circuit court for a stay pending appeal.

          On July 17, 2021, an Eleventh Circuit panel issued the following order:

                 Before the Court is Appellants’ “Time-Sensitive Motion for
                 Stay Pending Appeal and Administrative Stay.” The motion is
                 GRANTED, as Appellants have made the requisite showing.
                 See Nken v. Holder, 556 U.S. 418, 434 (2009). One judge
                 dissents; opinions will follow.
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    On July 23, 2021, the panel vacated the July 17, 2021 order and substituted the

    following order:

                 The appellants’ “Time-Sensitive Motion for Stay Pending
                 Appeal and Administrative Stay” is DENIED because
                 appellants failed to demonstrate an entitlement to a stay
                 pending appeal. See Nken v. Holder, 556 U.S. 418, 434 (2009).

          Within hours after the Eleventh Circuit’s July 23, 2021 order, CDC issued

    (Doc. 108-1) a “Dear Colleague Letter” to the cruise industry. Among other things,

    the letter “requests” cruise ship operators “to inform the CDC Maritime Unit of any

    ships operating out of Florida ports that will continue to follow all of the CSO’s

    provisions on a voluntary basis.” (Doc. 108-1 at 1) CDC’s “request” includes a

    deadline of “5:00 PM EDT on July 26, 2021.” (Doc. 108-1 at 1) (CDC’s emphasis).

          For a ship operator deciding not to notify CDC of voluntary compliance with

    the conditional sailing order, CDC’s letter (Doc. 108-1 at 1) states that, effective

    immediately, (1) the ship operator must report to a quarantine station an on-board

    episode of illness or death; (2) the ship operator must comply with the inspection and

    sanitary measures in 42 C.F.R. §§ 71.31 and 71.32; (3) CDC will designate the ship

    operator as “gray” (meaning CDC cannot confirm that the ship operator’s health

    protocols align with CDC’s COVID-19 standards); and (4) CDC will begin enforcing




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    CDC’s “Mask Order” for anyone in the outdoor area of a public transportation

    conveyance (such as the open-air area of a cruise ship).1

           In response to CDC’s Dear Colleague Letter, Florida submits (Doc. 108) an

    emergency motion to enforce the preliminary injunction. Florida objects both (1) to

    CDC’s imposing a requirement that the cruise industry must respond in only one

    business day to CDC’s Dear Colleague Letter and (2) to CDC’s regarding as non-

    compliant a ship operator that fails to timely confirm to CDC that the ship operator

    will voluntarily follow the enjoined conditional sailing order. Also, Florida argues

    that CDC’s letter constitutes an “attempt to coerce the cruise industry to comply with

    the now enjoined Conditional Sailing Order.” (Doc. 108 at 2)

           Florida argues that CDC’s Dear Colleague Letter violates the injunction for

    two reasons. First, Florida asserts that CDC threatens “new government

    enforcement” against those who refuse to comply voluntarily with the conditional

    sailing order. Second, Florida argues that even though CDC’s Dear Colleague Letter

    might not expressly violate the injunction, the effect of the letter contravenes the

    intended effect of the injunction.

           Opposing (Doc. 112) Florida’s motion, CDC denies that the injunction

    prohibits CDC’s requesting a ship operator to notify CDC immediately if the



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              Florida submits (Doc. 109) a notice explaining that CDC’s counsel reports that “CDC now
    intends to send a follow up letter stating that CDC is continuing to evaluate the public health
    situation, and currently will continue to exercise enforcement discretion on the mask mandate as
    applied to cruise ships, while that evaluation continues.” CDC’s response confirms CDC’s decision
    to rescind enforcement of the “Mask Order” outdoors. (Doc. 112-1)



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    operator will voluntarily comply with the conditional sailing order. In fact,

    according to CDC, “the Court specifically contemplated that ships might wish to

    voluntarily comply with the CSO, and did not even hint that it was enjoining other

    regulations cited here.” (Doc. 112 at 9) Further, CDC argues that CDC’s Dear

    Colleague Letter merely reminds ship operators of CDC’s continuing authority to

    implement the longstanding regulations identified in CDC’s letter. And according to

    CDC, “Florida acknowledged the validity of these regulations in its preliminary

    injunction motion.” (Doc. 112 at 8) Therefore, CDC argues that Florida’s motion is

    “baseless.”

          Although the injunction prohibits CDC’s enforcing against the identified ships

    and ship operators a regulation, policy, or the like that exceeds CDC’s statutory

    authority, Florida’s motion seems, especially in light of assurances offered by CDC’s

    counsel at today’s hearing, to anticipate a violation that has not occurred and that

    might not occur. For a time, the disposition of Florida’s motion is DEFERRED.

    When and if necessary, Florida may renew and supplement the motion, including

    with additional documentation and affidavits, if CDC either by means of CDC’s

    Dear Colleague letter, as clarified, or by means of any other agency action violates

    the injunction, including a violation effected by any pattern of vexatious, harassing,

    coercive, discriminatory, bad faith, or retaliatory conduct that amounts in effect to

    CDC’s undertaking to enforce a matter that CDC is enjoined from enforcing or

    undertaking to punish, harass, or retaliate against a ship operator for not voluntarily



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    complying with the conditional sailing order, the Dear Colleague Letter, or a later

    message from CDC directed to a similar end.

          ORDERED in Tampa, Florida, on July 26, 2021.




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